

People v Beardsley (2019 NY Slip Op 04818)





People v Beardsley


2019 NY Slip Op 04818


Decided on June 14, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 14, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, CURRAN, AND WINSLOW, JJ.


10 KA 17-01089

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vROCCO A. BEARDSLEY, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






ERICKSON WEBB SCOLTON &amp; HAJDU, LAKEWOOD (LYLE T. HAJDU OF COUNSEL), FOR DEFENDANT-APPELLANT.
PATRICK E. SWANSON, DISTRICT ATTORNEY, MAYVILLE (LYNN S. SCHAFFER OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Chautauqua County (Paul Wojtaszek, J.), rendered January 12, 2017. The judgment convicted defendant, upon his plea of guilty, of attempted criminal possession of a controlled substance in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Beardsley ([appeal No. 1] — AD3d — [June 14, 2019] [4th Dept 2019]).
Entered: June 14, 2019
Mark W. Bennett
Clerk of the Court








